Indictment for the murder of William Frisby Green, negro.
Charlotte Green, a colored woman, was called as a witness for the State, and objected to because she was not proved to be a free woman, though it was proved that she acted as such. The court held her competent on two grounds. At the common law there was always a strong presumption in favor of freedom. In the first settlement *Page 552 
of this country, the fact of the existence of the negro race in a state of bondage to the whites, and a large majority of that color being slaves, was considered sufficiently strong to outweigh the common law presumption, and to introduce a legal presumption that a colored person is prima facie a slave. Yet that state of things has changed; and cessante causa, cessat et ipsa lex. There are in this State about 20,000 persons of color; of whom 17,000 are free, and 3,000 slaves. A large majority of all persons of color in the United States are free. In point of fact, therefore, there is no reason to presume slavery from color; in opposition to the strong common law presumption, that every man having the human form is a freeman. And such has been the decision of this court on several occasions. But additionally, it has always been the practice to take reputation as proof of freedom.
The defence in the case was insanity.
Doctor L. P. Bush, of Wilmington, testified that the prisoner was at the time laboring under confirmed mania a potu, brought on by abstaining from liquor, after free indulgence. This is a temporary insanity; it resembles monomania more than any other form of insanity. The peculiar characteristic is, that it invests the imagination with full power over the judgment; the patient believes what he fancies, as fully as if it was actually so; his fancies are facts, and it is impossible to convince him otherwise; and this impression sometimes lasts after restoration to reason — the patient still believing that to have been true which he only fancied during his insanity. The memory is not usually much impaired — can give a connected statement on other subjects; with regard to volition, I know no difference between mania a potu and other forms of insanity; while it lasts the person is as much under the control of insanity in the one case as in the others. I think that the distinction between right and wrong and the responsibility of the individual is just as much destroyed in this disease as in mania or monomania; but there are grades in this disease.
Question by the defendant's counsel. — You have heard the testimony in this case: I ask whether, from the symptoms you have heard detailed by the witnesses, you are of the opinion that he was insane?
This was objected to, and the court refused to permit the question in this general form. They allowed the witness to be asked whether the conduct and appearance of the prisoner, as detailed by the other *Page 553 
"witnesses, were symptoms usually attendant on insanity. (Archb.Crim. Plead. 13.)
Witness. — These were symptoms of insanity. Opium or laudanum produces the same effects sometimes as liquor. I believe that the mania a potu, under which the prisoner was laboring, was produced by abstinence from liquor. I judged so because I attended him so long before it came on, and observed nothing like intoxication.
Dr. James Couper. — There is no essential difference between insanity from mania a potu and any other form of insanity, as to its effect on the mental operations and volition. No difference in regard to the power of distinguishing between right and wrong. I speak not of lighter, but of strong and confirmed cases of mania a potu.
charged the jury that the case rested entirely on the plea of insanity. Reason is the basis of human responsibility; whenever it does not exist, the party is not responsible for his acts. Theplea of insanity avails the party not as a justification or excuse, but because he is not responsible at all. It may exist from infancy, when it is idiocy; or it may be adventitious, proceeding from various causes, and may be permanent ortemporary.
The frenzy of drunkenness is no excuse, but there is a disease of insanity called mania a potu, which may be the result of a condition of the system produced by habitualintoxication, and yet is not the frenzy of drunkenness. The condition of insanity must be taken with this qualification, that if there be a partial degree of reason, a competent use of it to restrain the passions which produced the crime — a faculty to distinguish the nature of actions — to discern the difference between moral good and evil; then the party is responsible for his actions. The question must always be, did he or did he not know at the time he committed the act, that he was doing an immoral and unlawful act.
                                                Verdict of acquittal.